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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                                            CASE NO.:

  RUSSELL HUGH COOPER,

         Plaintiff,

  v.

  CITY OF BOYNTON BEACH, a Florida
  municipal corporation;
  WILLIAM MUHLEISEN, JR., individually;
  CYNTHIA RIVERA, individually;
  MARCO A. VILLARI, individually;
  ARMOR CORRECTIONAL HEALTH SERVICES,
  INC., a Florida for-profit corporation;
  RIC L. BRADSHAW, in his official capacity as
  Sheriff of Palm Beach County, Florida;
  GEO CARE, LLC, n/k/a CORRECT CARE, LLC,
  a Florida limited liability company;
  SUSEN CARTER-NEALY, A.R.N.P., individually;
  MICHELENE BENJAMIN, R.N., individually;
  GINA PELLETTERE, L.P.N., individually;
  ODILE SCHWAB-MOLINA, R.N., individually;
  DARLYNE BRUNEAU, R.N., individually;
  JENNIFER PIVA, R.N., individually;
  PIERRE DORSAINVIL, M.D., individually;
  PATRICIA SALMON, R.N., individually;
  ARMOR agents and employees,
  JANE DOE and JOHN DOE; and
  ADAM WHITE, Ph.D.,

         Defendants.
  ____________________________________________________________/

                                          COMPLAINT

         The Plaintiff, RUSSELL HUGH COOPER, sues Defendants, and states:
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         1.     This is a civil action seeking money damages against Defendants for

  committing acts, under color of law, which deprived Plaintiff Russell Cooper of rights

  secured under the Constitution, other laws of the United States, and laws of the state

  of Florida.

         2.     Through this action Plaintiff seeks money damages to compensate him for

  the cascade of destructive events, acts, and failures to act that began when Boynton

  Beach police officers used excessive force against him, continued through his pre-trial

  detention at the Palm Beach County Main Detention Center, and culminated in the

  surgical amputation of his left leg and concomitant loss of independence. Although no

  amount of money will restore the Plaintiff’s physical wholeness or return him to his

  prior level of independent living, Defendants must be made to answer for their failures

  to interact with Plaintiff consistent with his constitutional rights and with the dignity

  due to any human.

         3.     Plaintiff also seeks award of punitive damages for those causes of action

  that allow such damages, seeks award of attorney fees and costs, and demands trial by

  jury on all issues so triable.

         4.     Plaintiff’s federal claims arise pursuant to 42 U.S.C. §§1983 and 1988, for

  violations of his rights protected by the Fourth and Fourteenth Amendments to the

  United States Constitution; and 42 U.S.C. § 12101(b)(1), et seq., for violations of his

  rights under the Americans with Disabilities Act; and 29 U.S.C. § 794 for violations of
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  his rights under the Rehabilitation Act. This Court has jurisdiction pursuant to 28 U.S.C.

  §1331 and §1343.

         5.     Plaintiff’s state law claims arise pursuant to § 415.101, et seq., Fla. Stat.,

  for violations of his rights under the Adult Protective Services Act, and pursuant to

  common law for negligence and infliction of intentional and negligent emotional

  distress. Plaintiff invokes the supplemental jurisdiction of the United States District

  Court to hear those pendent tort and statutory claims arising under state law, pursuant

  to 28 U.S.C. § 1367(a).

         6.     Venue in this judicial district is proper pursuant to 28 U.S.C. §1391

  because the Defendants are subject to personal jurisdiction in Palm Beach County, and

  all events giving rise to Plaintiff’s claims occurred in Palm Beach County, which is

  within the jurisdiction of the United States District Court, in and for the Southern

  District of Florida.

         7.     Plaintiffs have fully complied with all conditions precedent to bringing this

  action. On November 5, 2014, Plaintiff served notice of his claims, in accordance with

  §768.28, Fla. Stat., on Ric Bradshaw as Sheriff of Palm Beach County Sheriff’s Office, and

  on Jeff Atwater, CFO, at the Florida Department of Financial Services. No resolution of

  the claims was reached within six months after the date the notice was served.

                                        THE PARTIES

         8.     Plaintiff, RUSSELL HUGH COOPER is, and was at all times material to this

  action, a resident of Palm Beach County, Florida. He is over the age of 18 years and is
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  otherwise sui juris. He is father to five and grandfather to ten. He is retired from

  employment as Director of Safety with the State of Michigan Department of Labor. Mr.

  Cooper also has served his community as a member of the armed services, as an adult

  foster care provider, and as a Veteran Michigan National Guardsman. For years Mr.

  Cooper met the challenges of debilitating disabilities including his profound hearing

  loss and severe back and joint impairments. Prior to May 2, 2014, Mr. Cooper obtained

  a cochlear implant to restore his ability to hear, and underwent surgeries on his spine

  and joints, which allowed him ambulate with the use of a walker.

         9.     Defendant CITY OF BOYNTON BEACH is a municipal corporation, and is

  capable of being sued.

         10.    At all material times, Defendant WILLIAM MUHLEISEN, JR., was an

  employee, law enforcement officer, and agent of the City of Boynton Beach, was acting

  under color of law, and was over the age of 18 years and otherwise sui juris. Plaintiff

  sues Muhleisen in his individual capacity. In connection with the acts, practices, and

  violations described below, Defendant Muhleisen directly or indirectly violated Plaintiff

  Cooper’s constitutional and other legal rights.

         11.    At all material times, Defendant CYNTHIA RIVERA was an employee, law

  enforcement officer, and agent of the City of Boynton Beach, was acting under color of

  law, and was over the age of 18 years and otherwise sui juris. Plaintiff sues Rivera in her

  individual capacity. In connection with the acts, practices and violations described
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  below, Defendant Rivera directly or indirectly violated Plaintiff Cooper’s constitutional

  and other legal rights.

        12.    At all material times, Defendant MARCO A. VILLARI was an employee, law

  enforcement officer, and agent of the City of Boynton Beach, was acting under the

  direction and control of the City, was acting under color of state law, and was over the

  age of 18 years and otherwise sui juris. Plaintiff sues Villari in his individual capacity.

  In connection with the acts, practices and violations described below, Defendant Villari

  directly or indirectly violated Plaintiff Cooper’s constitutional and other legal rights.

        13.    Defendant ARMOR CORRECTIONAL HEALTH SERVICES, INC., is a for-profit

  corporation, organized and existing under the laws of the State of Florida, conducting

  business in Palm Beach County, Florida. By virtue of a contract with the Palm Beach

  County Sheriff’s Office and Defendant RIC L. BRADSHAW, Armor is, and was at the

  relevant time, responsible for providing comprehensive health care services to inmates

  housed at the Palm Beach County Main Detention Center in West Palm Beach, Florida,

  where Plaintiff was detained following his arrest on May 2, 2014, through May 15,

  2014, when Plaintiff was released on bond. Armor delivered those health care services

  through its agents and employees, including those identified in this action.

        14.    Defendant RIC L. BRADSHAW is, and was at the relevant time, the elected

  Sheriff of Palm Beach County. As such, Defendant is the chief correctional officer of the

  Palm Beach County correctional system and is responsible for operating and

  maintaining the county detention facilities.
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        15.    Defendant GEO CARE, LLC, now known as CORRECT CARE, LLC (referred

  to as Geo for consistency with references in medical records), is a Florida limited

  liability company. At all relevant times, Geo was responsible for providing mental

  health care services to and evaluations of inmates housed at the Main Detention Center

  in West Palm Beach, Florida, where Plaintiff was detained following his arrest on May

  2, 2014. Upon information and belief, Geo is or was a subcontractor of Armor.

        16.    Defendants SUSEN CARTER-NEALY, A.R.N.P., MICHELENE BENJAMIN, R.N.,

  GINA PELLETTERE, L.P.N., ODILE SCHWAB-MOLINA, R.N., DARLYNE BRUNEAU, R.N.,

  JENNIFER PIVA, R.N., PIERRE DORSAINVIL, M.D., PATRICIA SALMON, R.N., and ARMOR

  agents and employees JANE DOE and JOHN DOE, were, at all times material, duly

  appointed attending health care providers employed by and serving under Defendant

  ARMOR, as agents of PBSO. The unknown Defendants John Doe and Jane Doe will be

  specified at a reasonable time within the future when discovered. Plaintiff sues each of

  these Defendants in their individual capacities.

        17.    Defendant ADAM WHITE, Ph.D., was employed by and serving under

  Defendant GEO at the relevant time. Plaintiff sues Dr. White in his individual capacity.

                                          FACTS

        18.    Plaintiff Russell Hugh Cooper was arrested by Boynton Beach police

  officers on May 2, 2014, at a PNC Bank in Boynton Beach, Florida.

        19.    Earlier in the day, Plaintiff had driven to an auto repair facility to have

  minor work performed on his car. When the work was complete, Plaintiff attempted to
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  pay the $128 bill using a debit card linked to his PNC account. When the card was

  declined, a mechanic employed by the facility drove Plaintiff to his bank as a courtesy

  so Plaintiff could address the problem with the bank and withdraw cash to pay the auto

  repair facility.

         20.    Once at the bank, however, the branch manager informed Plaintiff that his

  account was closed because of a lack funds, and that his Social Security payment, which

  was routinely deposited in the now-closed account, had been returned to the Social

  Security Administration.

         21.    Plaintiff, being informed for the first time of this development, and with

  his car at a repair facility, and a mechanic waiting for him outside the bank, and having

  been told he had no money to pay the auto repair bill or to pay for anything else,

  became distraught.

         22.    Plaintiff produced a common pocketknife and demanded the bank branch

  manager give him sufficient funds to pay the auto repair bill. A teller, under direction

  of the manager, handed $130 to Plaintiff.

         23.    While this was transpiring, another bank employee called 911.

         24.    Plaintiff took the cash and turned and made his way slowly, leaning on his

  walker for support, across the lobby toward the exit, instructing the manager to

  accompany him.

         25.    Once outside, Plaintiff encountered the Defendants Muhleisen, Rivera, and

  Villari, and the bank manager went back inside the bank.
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        26.    Despite Plaintiff’s obvious advanced age and physical disability,

  Defendants Muhleisen, Rivera, and Villari worked together as a unit to distract Plaintiff,

  not so that one of the Defendants could take the pocketknife out of Plaintiff’s hand, but

  so that Villari could deploy his M-26 Taser weapon into Plaintiff’s back.

        27.    After Defendant Villari discharged his M-26 Taser three times into

  Plaintiff’s back, causing Plaintiff to collapse onto the ground and sustain injuries,

  Plaintiff was arrested and then incarcerated at the Palm Beach County Sheriff’s Office

  Main Detention Center in West Palm Beach from May 2 to May 15, 2014.

        28.    Immediately before his arrest, Plaintiff Cooper was 77 years of age, resided

  in an assisted living facility, ambulated with the use of a walker, and was able to hear

  with the use of the cochlear implant.

        29.    During his confinement at the Main Detention Center, Plaintiff’s condition

  was allowed to deteriorate to the point that, after his release on bond, he was unable

  to return to the assisted living facility at which he had been residing; instead, he was

  admitted to a nursing home where he would be provided with more attentive care.

        30.    Before being Tasered three times, Plaintiff’s cochlear implant was fully

  functional and he could communicate with others and others could communicate with

  him. Upon being Tasered, Plaintiff’s cochlear implant was rendered non-functioning,

  making effective communication with others extraordinarily difficult throughout his

  pre-trial detention.
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         31.    After being booked into the Main Detention Center, Plaintiff’s walker was

  taken from him and not returned to him until his release, rendering him unable to

  ambulate; instead, Plaintiff was forced to crawl or pull his 77 year-old, disabled body

  across the jail cell floor to get to and from any meal, to use the toilet, to attempt to

  communicate, to attempt to sleep.

         32.    Two weeks after his release, Plaintiff was admitted to Wellington Regional

  Medical Center where he was treated for sepsis from a systemic infection with

  methicillin-resistant Staphylococcus aureus, more commonly known as MRSA.

         33.    Six months after his arrest and confinement, the MRSA infection had not

  resolved, and Plaintiff was required to undergo surgical amputation of his left leg below

  the knee in order to save his life.

         34.    Through the actions and inactions of the Defendants, Plaintiff Cooper’s

  rights and protections under the Fourth Amendment, Fourteenth Amendment,

  Americans with Disabilities Act, and Adult Protective Services Act were violated, with

  devastating results and harm from which he will never recover.

         35.    Plaintiff has agreed to pay his undersigned counsel a reasonable fee for

  services rendered.

                                     COUNT ONE
     Claim Against William Muhleisen, Jr., Cynthia Rivera, and Marco A. Villari,
        under 42 U.S.C. § 1983, for Excessive Use of Force in Violation of the
           Fourth and Fourteenth Amendments to the U.S. Constitution

         36.    Plaintiff Cooper restates the allegations set forth at paragraphs 1 through

  35 as if fully set forth here.
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         37.    Plaintiff brings this Count against Defendants WILLIAM MUHLEISEN, JR.,

   CYNTHIA RIVERA, and MARCO A. VILLARI, in their individual capacities.

         38.    Together, the Fourth and Fourteenth Amendments protect the rights of

   individuals, including Plaintiff Cooper, from the use of excessive or unreasonable force

   by law enforcement officers, including these Defendants. When those rights are

   violated, 42 U.S.C. § 1983 provides a remedy.

         39.    The City of Boynton Beach Police Department has a written policy

   generally restricting the amount of force officers are to use to the minimal amount

   necessary to affect lawful objectives.

         40.    The City of Boynton Beach Police Department has a written policy stating

   that, absent exigent circumstances, officers should not use their M-26 Taser against

   anyone whom the officer reasonably believes is elderly or disabled.

         41.    On May 2, 2014, Plaintiff Cooper was both elderly and disabled, facts that

   were obvious and apparent to these Defendants.

         42.    There were no exigent circumstances present, and this was not a rapidly-

   evolving situation in which Defendants were required to make split-second decisions.

         43.    These Defendants, three of Boynton Beach’s finest, violated Boynton

   Beach’s written policies regarding use of force generally and use of Tasers specifically,

   when they declined to utilize available and less-harmful techniques to bring Plaintiff’s

   conduct into compliance.
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         44.    Defendant officers, jointly and severally, violated Plaintiff’s Fourth

   Amendment right to be free from the use of excessive force as follows:

         a.     when they pointed their firearms at Plaintiff without first attempting to

                remove the pocketknife from his hand,

         b.     when Defendant Villari deployed his M-26 Taser into Plaintiff’s back,

                striking him and discharging an electrical current into his body, without

                first attempting to remove the pocketknife from his hand,

         c.     when Defendants Muhleisen and Rivera failed to attempt to remove the

                pocketknife from Plaintiff’s hand while the electric current was coursing

                through Plaintiff’s body and causing him extreme pain, muscle

                contraction, and loss of function,

         d.     when, after the electric current from the Taser dissipated, Defendants

                Muhleisen and Rivera remained standing in place with their firearms

                pointed at Plaintiff without attempting to remove the pocketknife from his

                hand,

         e.     when Defendant Villari again deployed his M-26 Taser into Plaintiff’s

                back, discharging an electrical current into his body a second time,

                without first attempting to remove the pocketknife from Plaintiff’s hand,

         f.     when Defendants Muhleisen and Rivera failed to attempt to remove the

                pocketknife from Plaintiff’s hand while the electric current from the
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                 second Tasing was coursing through Plaintiff’s body and causing extreme

                 pain, muscle contraction, and loss of function,

           g.    when, after the electric current from the second Tasing dissipated,

                 Defendants Muhleisen and Rivera remained standing in place with their

                 firearms pointed at Plaintiff without attempting to remove the

                 pocketknife from his hand,

           h.    when Defendant Villari again deployed his M-26 Taser into Plaintiff’s

                 back, discharging an electrical current into his body a third time, without

                 first attempting to remove the pocketknife from his hand, which finally

                 caused Plaintiff to fall from his walker to his knees, arms, then forward

                 striking his head on the pavement and sustaining injuries, including torn

                 skin on both arms, his forehead, and his left knee.

           45.   During one of the three Tasings, Plaintiff’s cochlear implant was disabled,

   rendering him unable to hear anything, including instructions from the Defendants.

           46.   As a result of the third Tasing, Plaintiff hit the ground and sustained

   multiple injuries to his skin which allowed opportunistic infection an entryway into his

   body.

           47.   Considering Plaintiff’s advanced age and obvious physical disability, the

   excessiveness of the force Defendants used against Plaintiff is so apparent under the

   circumstances that no reasonable officer could have believed in the lawfulness of

   Defendants’ actions
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           48.   Plaintiff was arrested and transported to the Palm Beach County Main

   Detention Center in West Palm Beach, Florida, where he was detained until May 15,

   2014.

           49.   Two weeks after his release, Plaintiff was admitted to a hospital and

   diagnosed with sepsis from a systemic MRSA infection, which later required the surgical

   amputation of his lower left leg - below the abrasion on his knee sustained when he hit

   the ground upon being Tased - to save his life.

           50.   As a direct and proximate result of the Defendants’ use of excessive force,

   Plaintiff suffered physical injury, loss of the use of his cochlear implant and therefore

   loss of the ability to hear, mental anguish, and infection with methicillin-resistant

   Staphylococcus aureus (MRSA) which resulted in the surgical amputation of his left leg

   below the knee.

           51.   Plaintiff seeks award of compensatory and punitive damages against these

   Defendants, and is entitled to recover reasonable attorney fees per 42 U.S.C. § 1988.

           WHEREFORE, Plaintiff Russell Hugh Cooper requests judgment against

   Defendants for compensatory and punitive damages, attorney’s fees and costs, any

   other and further relief that the Court deems just and proper, and requests trial by jury

   on all issues so triable.

                                    COUNT TWO
       Claim Against City of Boynton Beach under 42 U.S.C. § 1983 for Policy or
       Custom Concerning Excessive Use of Force in Violation of the Fourth and
                  Fourteenth Amendments to the U.S. Constitution
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          52.    Plaintiff Cooper restates the allegations set forth at paragraphs 1 though

   35 and 38 through 50 as if fully set forth here.

          53.    Plaintiff brings this count against the City of Boynton Beach to recover

   damages he suffered as a result of its unconstitutional municipal policy that amounts

   to tacit approval and authorization for the use of excessive force against elderly and

   disabled people.

          54.    Although City of Boynton Beach Police Department has a written policy

   against deploying Tasers on people who are elderly or disabled, the facts evince the

   existence of a custom or unwritten policy in favor of liberal use of Tasers even against

   people who are both elderly and disabled.

          55.    Three Boynton officers were present on the scene and worked together

   to distract Plaintiff, not so that one of them could remove the pocketknife from

   Plaintiff’s hand, but rather so that Villari could deploy his Taser into Plaintiff’s back.

          56.    One of the officers on the scene - Defendant Muhleisen - had attained the

   rank of Detective, and therefore was in a senior or supervisory position relative to

   Rivera and Villari, yet participated in the Taser use.

          57.    Not one of the Defendant officers attempted to end the confrontation by

   taking the pocketknife or restraining Plaintiff at any time until Plaintiff was lying on the

   ground, banged up and bloodied and deaf, after having been Tased three times.

          58.    Upon information and belief, there was no review or investigation by any

   employee or official at the City or in the City’s police department into this use of force
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   against Plaintiff, no referral to any other agency for investigation, no determination

   concerning the propriety of this Taser deployment, and no discipline for violation of

   departmental policy.

         59.    These acts and failures to act of Defendants Muhleisen, Rivera, and Villari,

   and the absence of oversight or review by anyone with authority at the City or in the

   City’s police department, evince the existence of a custom or unwritten policy

   authorizing the liberal use of Tasers without regard to whether the target is elderly,

   disabled, or both.

         60.    Plaintiff’s rights under the Fourth and Fourteenth Amendments were

   violated, this custom or unwritten policy of the City of Boynton Beach was the moving

   force behind those violations, and Plaintiff was harmed severely as a result.

         61.    Plaintiff seeks award of compensatory damages against Defendant City of

   Boynton Beach, and is entitled to recover reasonable attorney fees per 42 U.S.C. § 1988.

         WHEREFORE, Plaintiff Russell Hugh Cooper requests judgment against

   Defendant for compensatory, attorney’s fees and costs, any other and further relief that

   the Court deems just and proper, and requests trial by jury on all issues so triable.

                                   COUNT THREE
    Claim Against Carter-Nealy, Benjamin, Pellettere, Schwab-Molina, Bruneau,
    Piva, Dorsainvil, Salmon, White, and Armor agents and employees Jane Doe
   and John Doe, under 42 U.S.C. § 1983, for violations of Due Process Protections
               in the Fourteenth Amendment to the U.S. Constitution

         62.    Plaintiff Cooper restates the allegations set forth at paragraphs 1 through

   35 and 45 through 49 as if fully set forth here.
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         63.    Plaintiff brings this Count against Defendants Susen Carter-Nealy, A.R.N.P.,

   Michelene Benjamin, R.N., Gina Pellettere, L.P.N., Odile Schwab-Molina, R.N., Darlyne

   Bruneau, R.N., Jennifer Piva, R.N., Pierre Dorsainvil, M.D., Patricia Salmon, R.N., Adam

   White, Ph.D., and Armor agents and employees Jane Doe and John Doe, in their

   individual capacities.

         64.    After Plaintiff was arrested, he was transported to the Palm Beach County

   Main Detention Facility in West Palm Beach where he was held as a pre-trial detainee.

         65.    The Due Process Clause of the Fourteenth Amendment protects pre-trial

   detainees from being held in and subjected to conditions that amount to punishment

   of the detainee. When a person, acting under color of law, disregards these protections,

   violates Due Process rights, and causes harm, 42 U.S.C. § 1983 provides a remedy.

         66.    At the material times, these individual Defendants, except for Adam White,

   Ph.D., were employees and agents of Armor Correctional Health Services, Inc., and

   worked at the Main Detention Facility.

         67.    At the material times, Defendant Adam White, Ph.D., was an employee and

   agent of Defendant GEO Care, LLC, n/k/a Correct Care, LLC, which, upon information

   and belief, was a subcontract of Defendant Armor, and provided mental health care to

   inmates at the Palm Beach County Main Detention Facility.

         68.    These individual Defendants were responsible for screening incoming pre-

   trial detainees; assigning pretrial detainees to the appropriate housing level; evaluating

   the conditions, infirmities, and disabilities of detainees; assessing physical and mental
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   health and providing appropriate treatment; administering medications to detainees;

   assessing, implementing, and overseeing basic human needs of pre-trial detainees such

   as hearing, vision, and ambulation issues, toilet use and hygiene, nutrition; and the

   regular monitoring and ongoing assessment of the conditions of these detainees.

         69.     Each of these individual Defendants had direct contact with Plaintiff, and

   had access to and contributed to his treatment records, and therefore participated in

   subjecting Plaintiff Cooper to conditions that amount to punishment during the two

   weeks he was detained, in violation of his Due Process rights under the Fourteenth

   Amendment.

         70.     While these Defendants were acting under color of state law as employees

   or agents of either Defendant Armor or Defendant Geo, they subjected Plaintiff to the

   deprivation of rights and privileges secured to him under the Fourteenth Amendment

   to the United States Constitution. Those conditions included, but are not necessarily

   limited to:

                 a.    depriving him of his walker for the entirety of his period of

                       detention, despite knowing of his mobility impairment, leaving him

                       to move around by crawling or pulling his body along the jail cell

                       floor, and

                 b.    stripping him of his clothing and requiring him to be dressed only

                       in a paper gown and a so-called “suicide blanket,” and
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                c.     allowing his hearing impairment to go completely unaddressed,

                       rendering him unable to communicate effectively with others

                       including these Defendants, and rendering him socially isolated,

                       despite Defendants’ knowledge of the impairment, and despite

                       knowing that he was subjected to multiple “Tasings,” and

                d.     taking no steps to assess or evaluate a noted redness to Plaintiff’s

                       lower left leg, despite knowing of the tears to Plaintiff’s skin and

                       knowing that he was forced to crawl or pull himself along the jail

                       cell floor, and

                e.     failing to alert or notify any person holding a superior position or

                       any governmental authority about the conditions in which Plaintiff

                       was being held and subjected.

         71.    Defendants breached their duty of care by failing to assess, medicate, treat,

   monitor Plaintiff, despite their notice and knowledge of his disabilities and other

   serious medical conditions when they caused Plaintiff to be punished, demeaned, suffer

   physical pain, extreme mental anguish and depression as a result of being forced to

   drag himself or crawl like an animal – for days while naked - across Defendants’

   jailhouse floor after having his property, his walker taken away, and then continuously

   deprived of that property for the duration of his incarceration from May 2, 1014

   through May 15, 2014.
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           72.   Defendants also breached their duty of care when they caused Plaintiff to

   be punished, demeaned, suffer physical pain, extreme mental anguish and depression

   as a result of being forced to survive jail without aurally hearing, without being able to

   effectively communicate without a functioning cochlear implant continuously for the

   duration of his incarceration from May 2, 1014 through May 15, 2014.

           73.   Defendants’ actions and failures to act evinced deliberate indifference to

   Plaintiff’s serious medical needs that resulted in great harm, including eventual surgical

   amputation of his lower left leg to resolve an intractable MRSA infection and save his

   life.

           74.   The slow and painful injuries described above to the Plaintiff were

   reasonably foreseeable consequences of Defendants’ deliberate indifference to their

   obligations to provide appropriate evaluation, assessment, treatment, basic human

   needs, care, sustenance, and medication for incarcerated detainees, like Plaintiff.

           75.   As a direct and proximate result of the violations of Plaintiff’s

   Constitutional rights by these Defendants, Plaintiff suffered physical pain and injury,

   infection, extreme mental anguish and depression, and eventual surgical amputation

   of his lower left leg.

           76.   Plaintiff seeks award of compensatory and punitive damages against these

   Defendants, and is entitled to recover reasonable attorney fees per 42 U.S.C. § 1988.

           WHEREFORE, Plaintiff Russell Hugh Cooper requests judgment against these

   Defendants for compensatory and punitive damages, attorney’s fees and costs, any
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   other and further relief that the Court deems just and proper, and requests trial by jury

   on all issues so triable.

                                     COUNT FOUR
     Claim Against Carter-Nealy, Benjamin, Pellettere, Schwab-Molina, Bruneau,
     Piva, Dorsainvil, Salmon, White, and Armor agents and employees Jane Doe
               and John Doe, under Ch. 415, Fla. Stat., for violations of
                           the Adult Protective Services Act

          77.    Plaintiff Cooper restates the allegations set forth at paragraphs 1 through

   35, 45 through 49, 63, 64, 66, and 67 as if fully set forth here.

          78.    At all relevant times, Plaintiff was a vulnerable adult within the meaning

   of §415.102(28), Fla. Stat., because he was elderly and his ability to perform the normal

   activities of daily living was impaired due to long-term physical disabilities or

   infirmities of aging, including hearing and mobility impairments.

          79.    The Palm Beach County Main Detention Facility is a facility within the

   meaning of §415.102(9), Fla. Stat., because Plaintiff resided there 24 hours a day for

   each day of his detention, for two weeks, from arrest until his release on bond.

          80.    Each of these Defendants was a caregiver to Plaintiff within the meaning

   of §415.102(5), Fla. Stat., because each was entrusted with or had assumed

   responsibility for frequent and regular care of Plaintiff during the entirety of Plaintiff’s

   pre-trial detention.

          81.    Each of these Defendants knew that Plaintiff was elderly and that he

   suffered from hearing and mobility impairments, but failed to provide the care,

   supervision, and services necessary to maintain Plaintiff’s physical and mental health
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   which a prudent person would consider essential for the well-being of a vulnerable

   adult.

            82.   Those failures included, but were not limited to, allowing him only a paper

   gown for clothing, allowing his hearing impairment to go unaddressed, and prohibiting

   him from using his walker which required him to crawl and pull his unclothed body

   along the jail cell floor.

            83.   Those failures also constituted willful acts and omissions which caused or

   were likely to cause significant impairment to Plaintiff’s physical, mental, or emotional

   health, especially because each Defendant knew of Plaintiff’s open wounds, yet allowed

   him to crawl and pull his body along the jail cell floor where it was likely he would

   contract – and did contract – an infectious disease.

            84.   Each of these Defendants also failed to make a reasonable effort to protect

   Plaintiff from abuse or neglect by others charged with caring for Plaintiff during his

   detention.

            85.   Those failures, individually and collectively, produced or could reasonably

   be expected to result in serious physical or psychological injury or a substantial risk of

   death. In fact, Plaintiff’s physical and mental condition deteriorated significantly during

   his detention, and he developed a MRSA infection during his detention that eventually

   required surgical amputation of his lower left leg to save his life.

            86.   Plaintiff seeks award of actual, compensatory, and punitive damages, as

   well as attorney fees and costs, in accordance with §415.1111, Fla. Stat.
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         WHEREFORE, Plaintiff Russell Hugh Cooper demands judgment in his favor and

   against each of these Defendants for actual, compensatory, and punitive damages, and

   requests an award of reasonable attorney fees and costs, and all further relief that the

   Court deems just and proper.

                                   COUNT FIVE
     Claim Against Armor Correctional Health Services, Inc., and Geo Care, LLC
   n/k/a/ Correct Care, LLC, under 42 U.S.C. § 1983, for violations of Due Process
         Protections in the Fourteenth Amendment to the U.S. Constitution

         87.    Plaintiff Cooper restates the allegations set forth at paragraphs 1 through

   35, and 64 through 75 as if fully set forth here.

         88.    Plaintiff sues Defendant Armor Correctional Health Services, Inc., and Geo

   Care, LLC n/k/a/ Correct Care, LLC (Geo) for violating his rights to Due Process under

   the Fourteenth Amendment.

         89.    The acts and failures to act of Armor’s or Geo’s agents and employees

   evince the existence of a custom or policy of Armor or Geo that resulted in deliberate

   indifference to Plaintiff’s constitutional rights and amounted to punishment in violation

   of the Due Process under the Fourteenth Amendment.

         90.    Armor’s or Geo’s unconstitutional custom or policy is to maximize profits

   by delivering healthcare services that are so deficient in quality that they amount to

   cruel, unusual, and inhumane treatment, or punishment in violation of the Due Process

   Clause.
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          91.    Plaintiff’s constitutional rights to Due Process under the Fourteenth

   Amendment were violated, Armor’s or Geo’s custom or policy was the moving force

   behind those violations, and Plaintiff was harmed severely as a result.

          92.    Plaintiff seeks award of compensatory and punitive damages against this

   Defendant, and is entitled to recover reasonable attorney fees per 42 U.S.C. § 1988.

          WHEREFORE, Plaintiff Russell Hugh Cooper requests judgment against

   Defendant Armor Correctional Health Services, Inc., and Geo Care, LLC n/k/a/ Correct

   Care, LLC, for compensatory and punitive damages, attorney’s fees and costs, any other

   and further relief that the Court deems just and proper, and requests trial by jury on all

   issues so triable.

                                        COUNT SIX
                Claim Against Armor Correctional Health Services, Inc.,
                  for violations of the Americans with Disabilities Act
                                  and Rehabilitation Act

          93.    Plaintiff Cooper restates the allegations set forth at paragraphs 1 through

   35, and 64 through 75 as if fully set forth here.

          94.    Plaintiff sues Defendant Armor Correctional Health Services, Inc., for

   violating his rights under the Americans with Disabilities Act (ADA) and Rehabilitation

   Act.

          95.    The Federal Rehabilitation Act prohibits discrimination against an

   individual based on disability by an program or entity receiving federal funds. 29 U.S.C.

   §§ 794(a) and (b)(2)(B).
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          96.    Title II of the ADA prohibits disability-based discrimination by any public

   entity. 42 U.S.C. §§ 12131-12132.

          97.    These disability anti-discrimination laws impost an affirmative duty on

   public entities to create policies or procedures to prevent discrimination based on

   disability.

          98.    Plaintiff is, and was at the relevant times, a person with a disability within

   the meaning of Title II of the ADA and the Rehabilitation Act.

          99.    Defendant Armor is a program or entity which receives federal financial

   assistance.

          100. Defendant Armor is a public entity as defined by Title II of the ADA.

          101. Defendant Armor’s healthcare infirmary is a facility and its operation

   comprises a program and services for purposes of Title II of the ADA and the

   Rehabilitation Act.

          102. During his time of pre-trial detention, Plaintiff was qualified to participate

   in or receive the benefit of Armor’s services, programs, or activities.

          103. Plaintiff was abused and neglected because of his hearing and mobility

   disabilities by Armor’s agents and employees at the Palm Beach County Main Detention

   Center. Such abuse and neglect constitutes discrimination against an individual based

   on his disabilities in violation of Title II of the ADA and the Rehabilitation Act.
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          104. This abuse and neglect denied Plaintiff the benefits of the services,

   programs, or activities of Armor’s healthcare infirmary in violation of Title II of the ADA

   and the Rehabilitation Act.

          105. This abuse and neglect was carried out by Armor’s agents and employees

   at the Palm Beach County Main Detention Center while acting within the scope of their

   employment by Armor. Defendant Armor is liable for the actions and inactions of its

   agents and employees when they violated Title II of the ADA and the Rehabilitation Act.

          106. Armor discriminated against Plaintiff by failing to provide a non-abusive,

   safe treatment environment, by failing to provide him with auditory care, and by failing

   to provide him with means to ambulate so that he would not have to crawl on the jail

   cell floor.

          107. Plaintiff was severely harmed as a result of Armor’s discrimination.

          108. Plaintiff seeks award of compensatory damages against this Defendant,

   and recovery of reasonable attorney fees per 42 U.S.C. § 12205 and 29 U.S.C. § 794.

          WHEREFORE, Plaintiff Russell Hugh Cooper requests judgment against

   Defendant Armor Correctional Health Services, Inc., for compensatory damages,

   attorney’s fees and costs, any other and further relief that the Court deems just and

   proper, and requests trial by jury on all issues so triable.
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                                    COUNT SEVEN
          Negligence Claims Against Armor Correctional Health Services, Inc.,
                              under Florida State Law

          109. Plaintiff Cooper restates the allegations set forth at paragraphs 1 through

   35 as if fully set forth here.

          110. At all material times, Defendant Armor owed the Plaintiff a duty to provide

   him with his walker, hearing/communication access, and his operating cochlear

   implant.

          111. At all materials times, Defendant Armor, by and through its agents or

   employees, breached its duty to give the Plaintiff his walker and to give him his

   operating cochlear implant.

          112. At all material times, Defendant Armor, by and through its agents or

   employees, were aware that it had a duty to provide the Plaintiff with his walker and

   his operating cochlear implant and also was that the Plaintiff was being harmed as a

   result of being denied his walker and his operating cochlear implant.

          113. As a direct and proximate result of the negligence of Defendant Armor,

   Plaintiff was caused to suffer physical pain, infection and eventual surgical amputation

   of his lower left leg, joint damage, extreme mental anguish and depression.

          WHEREFORE, the Plaintiff Russell Hugh Cooper demands compensatory and

   punitive damages against Defendant Armor Correctional Health Services, Inc., costs, and

   trial by jury for all issues so triable.
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                                      COUNT EIGHT
                 Claim Against Ric L. Bradshaw, under 42 U.S.C. § 1983,
                        for violations of Due Process Protections
                 in the Fourteenth Amendment to the U.S. Constitution

         114. Plaintiff Cooper restates the allegations set forth at paragraphs 1 through

   35, 64 through 75, 89 and 90 as if fully set forth here.

         115. Plaintiff sues Defendant Ric L. Bradshaw in his official capacity as Sheriff

   of Palm Beach County, Florida, for violating Plaintiff’s rights to Due Process under the

   Fourteenth Amendment.

         116. The acts and failures to act of Bradshaw, through his agents and

   employees, evince the existence of customs or policies that resulted in deliberate

   indifference to Plaintiff’s constitutional rights and amounted to punishment in violation

   of the Due Process under the Fourteenth Amendment, for which 42 U.S.C. §1983

   provides a remedy.

         117. Those customs or policies include:

                a.      exposing Plaintiff or all inmates housed at the Main Detention

                        Center to infectious pathogens, including MRSA, stemming from

                        inadequate cleaning and disinfection of the facilities,

                b.      depriving Plaintiff or all mobility-impaired inmates of their walkers

                        or wheelchairs, leaving Plaintiff or other inmates to crawl or pull

                        their bodies along the inadequately-cleaned floors,
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                 c.      acceptance and tacit authorization of Armor’s substandard

                         healthcare services to inmates housed at the Main Detention

                         Center,

                 d.      failing to provide Plaintiff, or all hearing-impaired inmates housed

                         at the Main Detention Center, with auditory care or assistive

                         services.

          118. Taken together or standing alone, those customs or policies demonstrate

   Defendant Bradshaw’s deliberate indifference to Plaintiff’s Due Process rights to be free

   of treatment that amounts to punishment.

          119. As a direct and proximate result of the actions, inactions, customs, or

   policies described above, Plaintiff suffered infliction of inhumane conditions of

   confinement, physical pain, infection and eventual surgical amputation of his lower left

   leg, joint damage, extreme mental anguish and depression.

          WHEREFORE, Plaintiff, Russell Hugh Cooper, demands compensatory damages

   against Defendant Ric L. Bradshaw, together with attorney fees and costs, and trial by

   jury for all issues so triable.

                                     COUNT NINE
                  Claim Against Ric L. Bradshaw for violations of the
                 Americans with Disabilities Act and Rehabilitation Act

          120. Plaintiff Cooper restates the allegations set forth at paragraphs 1 through

   35, and 116 through 118 as if fully set forth here.
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          121. Plaintiff sues Defendant Ric L. Bradshaw in his official capacity as Sheriff

   of Palm Beach County, Florida, for violating his rights under the Americans with

   Disabilities Act (ADA) and Rehabilitation Act.

          122. The Federal Rehabilitation Act prohibits discrimination against an

   individual based on disability by an program or entity receiving federal funds. 29 U.S.C.

   §§ 794(a) and (b)(2)(B).

          123. Title II of the ADA prohibits disability-based discrimination by any public

   entity. 42 U.S.C. §§ 12131-12132.

          124. These disability anti-discrimination laws impost an affirmative duty on

   public entities to create policies or procedures to prevent discrimination based on

   disability.

          125. Plaintiff is, and was at the relevant times, a person with a disability within

   the meaning of Title II of the ADA and the Rehabilitation Act.

          126. Defendant Bradshaw oversees and is responsible for a program or entity

   which receives federal financial assistance.

          127. The Palm Beach County Sheriff’s Office, over which Defendant Bradshaw

   is the chief official, constitutes a public entity as defined by Title II of the ADA.

          128. The Main Detention Center, which is controlled by Defendant Bradshaw,

   is a facility and its operation comprises a program and services for purposes of Title II

   of the ADA and the Rehabilitation Act.
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          129. During his time of pre-trial detention, Plaintiff was qualified to participate

   in or receive the benefit of Bradshaw’s services, programs, or activities.

          130. Plaintiff was abused and neglected because of his hearing and mobility

   disabilities by Bradshaw’s agents and employees at the Palm Beach County Main

   Detention Center. Such abuse and neglect constitutes discrimination against an

   individual based on his disabilities in violation of Title II of the ADA and the

   Rehabilitation Act.

          131. This abuse and neglect denied Plaintiff the benefits of the services,

   programs, or activities at the Main Detention Facility in violation of Title II of the ADA

   and the Rehabilitation Act.

          132. This abuse and neglect was carried out by Bradshaw’s agents and

   employees at the Main Detention Center while acting within the scope of their

   employment by Bradshaw and the Palm Beach County Sheriff’s Office. Defendant

   Bradshaw is liable for the actions and inactions of its agents and employees when they

   violated Title II of the ADA and the Rehabilitation Act.

          133. Bradshaw discriminated against Plaintiff by failing to provide a non-

   abusive, safe environment, by failing to provide him with auditory care, and by failing

   to provide him with means to ambulate so that he would not have to crawl on the jail

   cell floor.

          134. Plaintiff was severely harmed as a result of Bradshaw’s discrimination.
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          135. Plaintiff seeks award of compensatory damages against this Defendant,

   and recovery of reasonable attorney fees per 42 U.S.C. § 12205 and 29 U.S.C. § 794.

          WHEREFORE, Plaintiff Russell Hugh Cooper requests judgment against

   Defendant Ric L. Bradshaw, for compensatory damages, attorney’s fees and costs, any

   other and further relief that the Court deems just and proper, and requests trial by jury

   on all issues so triable

                                       COUNT TEN
                        Negligence Claims Against Ric L. Bradshaw
                                 under Florida State Law

          136. Plaintiff Cooper restates the allegations set forth at paragraphs 1 through

   35 as if fully set forth here.

          137. Plaintiff sues Defendant Ric L. Bradshaw in his official capacity as Sheriff

   of Palm Beach County, Florida.

          138. At all material times, Defendant Bradshaw owed the Plaintiff duties to

   provide him with his walker, auditory care and services, and sufficiently clean living

   conditions that would not expose him to pathogens such as MRSA.

          139. At all materials times, Defendant Bradshaw, by and through his agents or

   employees, breached these duties by depriving Plaintiff of his walker upon his

   incarceration at the Main Detention Facility and not returning it to him or providing a

   replacement until his release from custody, by failing to provide for auditory care and

   services, and by failing to provide sufficiently clean living conditions.
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          140. As a direct and proximate result of the negligence of Defendant Bradshaw,

   Plaintiff suffered physical pain, infection and eventual surgical amputation of his lower

   left leg, joint damage, extreme mental anguish and depression.

          WHEREFORE, the Plaintiff Russell Hugh Cooper demands compensatory

   damages against Defendant Ric L. Bradshaw, costs, and trial by jury for all issues so

   triable.

   Dated: April 30, 2018                          Respectfully submitted,

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